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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE 05 JUL 1 l pH 5= 1414

 

 

WESTERN DIVISION
UNITES STATES OF AMERICA,
Plaintiff,
v. Cr. No. 97-20244-D
ERlC RAYFORD,
Defendant.

 

ORDER GRANTING DEFENDANT’S MOTION TO RESET
SUPERVISED RELEASE VIOLATION HEARING

 

For good cause shown, the Court hereby GRANTS defendant’s motion to reset the
supervised release violation hearing, currently set for Wednesday, July 13, 2005 at 1:30 p.m. The

supervised release violation hearing is hereby RESET for

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lt is so ORDERED, this the 57 day of July, 2005.

 

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'ESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

